Case 1:16-cr-10305-NMG Document 344 Filed 12/31/18 Page 1 of 4




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               Case 1:16-cr-10305-NMG Document 344 Filed 12/31/18 Page 2 of 4
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Case 1:16-cr-10305-NMG Document 344 Filed 12/31/18 Page 3 of 4
Case 1:16-cr-10305-NMG Document 344 Filed 12/31/18 Page 4 of 4
